     Case 2:20-cv-02059-KJD-EJY Document 16 Filed 02/26/21 Page 1 of 1



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 4                              UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
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 7   SOCORRO KEENAN,                                       Case No. 2:20-cv-02059-KJD-EJY
 8                                            Plaintiff,   ORDER ADOPTING AND AFFIRMING
                                                           MAGISTRATE JUDGE’S REPORT AND
 9           v.                                                  RECOMMENDATION
10   LETICIA ACOSTA, et al.,
11                                        Defendants.
12          Before the Court for consideration is the Report and Recommendation (ECF #8)
13   containing the findings and recommendations of Magistrate Judge Elayna J. Youchah entered
14   December 29, 2020, recommending that Plaintiff’s 42 U.S.C. §§ 1985 and 1989 claims be
15   dismissed with prejudice. Plaintiff did not object to the Report and Recommendation.
16          The Court has conducted a de novo review of the record in this case in accordance with
17   28 U.S.C. § 636(b)(1) and LR IB 3-2 and determines that the Report and Recommendation (ECF
18   #8) of Magistrate Judge Youchah entered December 29, 2020, should be ADOPTED and
19   AFFIRMED.
20          IT IS THEREFORE ORDERED that the Magistrate Judge’s Report and
21   Recommendation (ECF #8) is ADOPTED and AFFIRMED.
22          IT IS FURTHER ORDERED that the Magistrate Judge’s Report and Recommendation
23   (ECF #4) is DENIED as moot.
24   Dated this 26th day of February, 2021.
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26                                                _____________________________
                                                   Kent J. Dawson
27                                                 United States District Judge
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